Case 2:02-cv-05171-DLI-JO              Document 321 Filed 03/07/07          Page 1 of 13 PageID #:
                                                1923



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x
CALABRESE et al.,                                     :
                           Plaintiffs,                :        MEMORANDUM AND ORDER
                                                      :
                  -against-                           :        02-CV-5171 (DLI)(JO)
                                                      :
CSC HOLDINGS, INC. et al.,                            :
                           Defendants.                :
------------------------------------------------------x

DORA L. IRIZARRY, U.S. District Judge:

        The litigation tactics employed in this case would test the patience of even the most forgiving

federal district court judge. The problem appears to emulate from the parties’ refusal to accept the

finality of the court’s decisions, choosing instead to make motions to reconsider and appeal the

decisions of the court repeatedly. Neither party is without blame – in fact, it seems that both

plaintiffs and defendants are content to engage in procedural trench warfare on in the battlefield of

discovery, with the decisions, orders and respect for the court becoming collateral damage. The aim

of this Memorandum and Order is to finally resolve one of the most intractable issues in this action:

what discovery is permitted from “nonparty potential class members” (“NPCM”).1 NPCMs are

individuals who might be members of a class if certification is later granted, but who are not yet, and



        1
                As explained in more detail in the background portion of this Memorandum and
Order, the issue comes before the court on a 28 U.S.C. § 636(b)(1)(A) motion to reconsider a
May 24, 2006 Minute Order of United States Magistrate Judge James Orenstein (ECF Docket
No. 298) denying the application of defendants Shaun K. Hogan, Daniel J. Lefkowitz, Wayne R.
Louis, Patrick J. Sullivan and Lefkowitz, Louis & Sullivan, L.L.P. (“the Attorney Defendants”)
to compel production of the names of 240 NPCMs. (ECF Docket No. 308). Judge Orenstein
later denied the Attorney Defendants’ motion for reconsideration of this order. (ECF Docket No.
306). The court notes that this, therefore, is the third time the court is considering the Attorney
Defendants’ motion. The court expects that whichever party feels aggrieved by this
Memorandum and Order will make a motion requesting the court reconsider. However, in the
absence of a change in controlling law or a change in material facts, the parties are cautioned that
a motion to reconsider may result in the imposition of sanctions.
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07               Page 2 of 13 PageID #:
                                            1924



may never be, a party to the litigation. For the reasons set forth below, defendants’ appeal from U.S.

Magistrate Judge James Orenstein’s Order dated May 24, 2006 denying defendants’ motion for

reconsideration of his denial of certain discovery is dismissed.2

        In this action, plaintiffs allege a scheme by defendants3 to defraud cable subscribers who

purchased certain cable equiptment (“pirate boxes”) by falsely accusing these cable subscribers of

stealing cable in an attempt to obtain a settlement, in violation of state and federal laws. Plaintiffs’

strategy during the last two years focused on obtaining discovery from defendants to broaden their

class by finding additional victims of the alleged scheme (NPCMs), while at the same time

preventing defendants from obtaining reciprocal discovery regarding the NPCMs. Defendants, for

their part, have sought the exact opposite: to prevent plaintiffs from obtaining records which would

allow them to broaden their class while, at the same time, attempting to obtain reciprocal discovery

from NPCMs to pick off potential plaintiffs (NPCMs) who will be unable to prove their claims, or

perhaps simply to make the class certification process as onerous as possible for both the NPCMs

and plaintiffs.




        2
                In determining the issue, the court is governed by the law of the case and has not
upset or overturned prior decisions in this case by other district court judges. See Official
Committee of Unsecured Creditors of Color Tile, Inc. v. Coopers & Lybrand, LLP 322 F.3d 147,
166 (2d Cir 2003) (“[w]e have limited district courts' reconsideration of earlier decisions . . .by
treating those decisions as law of the case, which gives a district court discretion to revisit earlier
rulings in the same case, subject to the caveat that ‘where litigants have once battled for the
court's decision, they should neither be required, nor without good reason permitted, to battle for
it again.’”) (quoting Zdanok v. Glidden Co., 327 F.2d 944, 953 (2d Cir. 1964)).
        3
               In addition to the Attorney Defendants, the other defendants are CSC Holdings,
Inc., James F. Magee, Robert Astarita, Amy Groveman and Allied Account Services, Inc. For
the purposes of his Memorandum and Order, all defendants will be collectively referred to as
“defendants,” unless otherwise noted.

                                                2
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07               Page 3 of 13 PageID #:
                                            1925



                                            Background

       United States District Judge Joanna Seybert’s decision of September 5, 2003 (Docket No.

46) contains the genesis of the dispute regarding what discovery should be permitted from NPCMs.

The September 5, 2003 decision denied plaintiffs’ motion for class certification on the grounds that

the plaintiffs had failed to satisfy the numerosity requirement of Fed R. Civ. Pro. 23(a)(1) because

they had not provided a reasonable estimate of the number of class members. Calabrese v. CSC

Holdings, Inc., 02-CV-5171 (E.D.N.Y. Sep. 5, 2003) (Docket No. 46). Judge Seybert found that

plaintiffs had not provided a reasonable estimate of the number of class members because they had

defined the putative class as “CSC’s cable television subscribers in New York State who have been

victimized by Defendants’ scheme.” Id. Judge Seybert held that:


       the Court finds that the only individuals ‘victimized’ by the Defendants’ ‘scheme’
       are those who can plead that they did not in fact use the pirate box to intercept cable
       programing service. Plaintiffs’ putative class can therefore only consist of those
       individuals who will allege that they did not use the pirate boxes to intercept cable
       programing service. The Plaintiffs have not made any attempt to establish that there
       are a large number of individuals that will fit into this class, or even to ‘reasonably
       estimate’ the number. In fact, even accepting all of the Plaintiffs’ allegations as true,
       there is no indication that the Plaintiffs’ class will consist of any individuals beyond
       those named in the Complaint. As such, the Plaintiffs have failed to establish the
       numerosity requirement and no class can be certified.

       Although the Plaintiffs’ motion must be denied for failure to satisfy Rule 23(a)(1),
       the Court will deny this motion without prejudice.

Id. at 6-7. Plaintiffs initially made a motion to reconsider the September 5, 2003 order (ECF Docket

No. 51), but withdrew the motion in exchange for being permitted to file a third amended complaint

(ECF Docket No. 49). After serving the amended complaint, plaintiffs requested that United States

Magistrate Judge Arlene R. Lindsay, then assigned to the case, allow discovery to go forward on the

issue of numerosity. (ECF Docket No. 55). The defendants objected to the plaintiffs’ application

                                               3
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07             Page 4 of 13 PageID #:
                                            1926



and requested discovery be limited to the named plaintiffs. (ECF Docket Nos. 56, 57). On October

9, 2003, Judge Lindsay permitted discovery to go forward on the issue of numerosity. (ECF Docket

No. 58). Both parties appealed the magistrate judge’s order. (ECF Docket Nos. 60, 65, 75). The

crux of plaintiffs’ objections was that the court should not allow discovery of “absent class

members,” later defined as NPCMs. Id. Defendants asked for reconsideration of the order because

they wished to have more discovery from NPCMs. Id. On November 12, 2003, Judge Lindsey

denied defendants’ motion for reconsideration and ruled that plaintiffs were to provide a reasonable

estimate of the number of class members as well as additional information about the NPCMs

demonstrating that class certification was appropriate. (ECF Docket No. 60, Endorsed Order).

Under the order, defendants were permitted additional discovery of the NPCM. Likewise, plaintiffs

were permitted numerosity discovery from defendants, even after the numerosity requirement was

met. Id.

       On December 18, 2003, Judge Seybert issued a Memorandum and Order dismissing

plaintiffs’ appeal of Judge Lindsay’s October 9, 2003 order. (ECF Docket No. 78). Judge Seybert

reaffirmed her September 5, 2003 decision requiring plaintiffs to make a “reliable showing . . . that

a substantial number of individuals can be identified who can affirmatively plead that they were

defrauded by the Defendants’– that is that (1) they did not in fact use a pirate box and (2) they did

in fact rely on Defendants’ representations.” Id. at 4. Judge Seybert went on to state that plaintiffs

are permitted discovery “to allow plaintiffs access to the information that they will need in order to

make the showing required of them.” Id. at 6. Similarly, Judge Seybert found that defendants have

the right to discovery regarding “the claims of putative class members.” Id. Concerned that the

parties might construe Judge Lindsay’s order “to allow the parties to engage in discovery well


                                               4
Case 2:02-cv-05171-DLI-JO           Document 321 Filed 03/07/07               Page 5 of 13 PageID #:
                                             1927



beyond the scope of the issues intended,” Judge Seybert modified the order, directing that “[t]he

parties shall narrowly tailor all discovery requests to these issues and shall not attempt to engage in

discovery relating to the substance of the claims of unnamed potential class members, except to the

extent the substance of the claims relates to the inclusion of said parties in the class.” Id. To prevent

abuse, defendants’ discovery requests served on the NPCMs were required to be in writing. Id.

        Plaintiffs moved for reconsideration of Judge Seybert’s December 18, 2003 Memorandum

and Order. (ECF Docket No. 87). On August 17, 2004, Judge Seybert issued another Memorandum

and Order denying the motion to reconsider and reaffirming her prior decisions:


        As Plaintiffs correctly point out, this class has not yet been certified, which precludes
        the potential class members from technically being classified as ‘absent class
        members.’ However, it would not be prudent to classify these potential class
        members as ‘non-parties.’         This case presents special circumstances in that
        Plaintiffs, on the one hand, would like to include these ‘non-parties’ in the putative
        class, but, on the other hand, wish to preclude Defendants from reciprocal discovery
        on the issue of numerosity concerning these same ‘non-parties.’ The Court does not
        agree with Plaintiffs’ contentions and to the extent that it was unclear in the
        December 18, 2003 Order, the Court is clarifying that the Plaintiffs have the burden
        of establishing numerosity and that they may engage in discovery in order to
        determine whether there are individuals, other than those already named as Plaintiffs
        in this action, who qualify for inclusion in the class. The Court also intends that the
        Defendants have a reciprocal right to limited, relevant discovery concerning whether
        the individuals identified by the Plaintiffs as potential class members actually qualify
        as members of the class, so that they may have the opportunity to disprove
        numerosity. As such, this limited discovery may only relate to the issue of whether
        potential class members qualify for inclusion in the class, within the limits set forth
        in this, and the previous, orders of the Court.

Id. at 12. On August 27, 2004, Judge Seybert lifted the stay previously imposed on this discovery.

(ECF Docket No. 155). On September 17, 2004, plaintiffs appealed Judge Seybert’s August 17,




                                                5
Case 2:02-cv-05171-DLI-JO         Document 321 Filed 03/07/07            Page 6 of 13 PageID #:
                                           1928



2004 Memorandum and Order to the Second Circuit. (ECF Docket No. 160).4 Plaintiffs also moved

for a stay of the August 17, 2004 Memorandum and Order pending the appeal, which was ultimately

denied. (ECF Docket No. 168). The appeal was dismissed by the Second Circuit on February 23,

2005 for lack of jurisdiction. (ECF Docket No. 201).

        The defendants’ entitlement to discovery from NPCMs having been addressed, and the

discovery obligations of the parties being reasonably well established, on April 7, 2005, Judge

Orenstein held a discovery conference and asked the parties to provide a report addressing all

outstanding discovery matters. (ECF Docket No. 221).5 On the issue of discovery from NPCMs,

Judge Orenstein proposed that plaintiffs identify the NPCMs by an in camera submission, ex parte,

and provide a redacted version to defendants. The in camera submissions would allow potential

class members to attest to their membership in the proposed class, in a form affidavit to be agreed

to by both parties. Id. Predictably, plaintiffs wished to keep the identities of the NPCMs




        4
               The case was reassigned to the Honorable Dora L. Irizarry on September 13,
2004.
        5
                 In an April 15, 2005 submission responding to Judge Orenstein’s April 7th Order,
defendants, apparently for the first time and in an act of brazen gamesmanship, stated that they
could not turn over certain discovery related to numerosity because the “Privacy Act” forbids
cable providers from turning over certain subscriber information without the subscriber’s
consent. (ECF Docket No. 222). Defendants construed the Privacy Act to prohibit the
numerosity discovery sought by plaintiffs, namely the identity of the allegedly thousands of
subscribers who the defendants accused of purchasing pirate boxes. Id. Defendants proposed
that plaintiffs identify the potential class members, all of whom are cable subscribers accused of
purchasing pirate boxes, and then defendants would release information about those particular
subscribers, since the participating subscribers would be deemed to have consented to the
disclosure under the Privacy Act. Id. In an April 18, 2005 Civil Conference Order, Judge
Orenstein requested that the parties brief issue of the implications of the Privacy Act on
discovery. (ECF Docket No. 226). Its unclear how this issue was resolved, but in the end
defendants provided numerous documents to plaintiffs, without Privacy Act implications.
(“Phase III documents.”) (ECF Docket No. 252).

                                             6
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07              Page 7 of 13 PageID #:
                                            1929



anonymous while defendants wanted disclosure of the identities of the NPCMs, ostensibly to allow

the defendants to serve additional discovery on the NPCMs. (ECF Docket No., 230, 232). On May

18, 2005, Judge Orenstein ruled that plaintiffs must provide “unredacted affidavits from all potential

absent class members. . . by June 16, 2005.” (ECF Docket No. 236). The deadline was later

extended to June 24, 2005. (ECF Docket No. 240, Endorsed Order). On June 24, plaintiffs provided

thirty-four unredacted affidavits from NPCMs, each of which attested to the individual’s

membership in the potential class. Plaintiffs now had a putative class of forty, the minium needed

to satisfy the numerosity requirements. (ECF Docket No. 242). However, on June 29, 2005, Judge

Orenstein clarified his May 18, 2005 Order and directed plaintiffs to provide unredacted affidavits

from “all potential absent class members, not simply the minimum needed to satisfy the numerosity

requirement for maintaining a class action.” (ECF Docket No. 243). On July 27, 2005, plaintiffs

provided more than sixty affidavits from NPCMs attesting to their membership in the class, as well

as a list of hundreds of other NPCMs from whom plaintiffs could not get affidavits for one reason

or another. (ECF Docket No. 247). Claiming that the numerosity requirement was satisfied,

plaintiffs asked the court to certify the class. Id. Several additional affidavits from potential class

members were provided on August 17, 2005. (ECF Docket No. 251).

       Defendants, however, were not satisfied with the affidavits and sought to take additional

discovery from the NPCMs, asserting that Judge Seybert’s and Judge Lindsay’s prior rulings

permitted them to do so. (ECF Docket No. 253-254, 257, 258, 260). Plaintiffs, however, took the

position that additional discovery from NPCMs was an “anathema to the very concept of Class

Action litigation.” (ECF Docket No. 262). On December 27, 2005, Judge Orenstein decided the

issue in favor of plaintiffs and limited the defendants’ discovery to “interrogatories that test the


                                               7
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07              Page 8 of 13 PageID #:
                                            1930


numerosity issue by seeking information about nonparty potential class members, but not from

them.” (ECF Docket No. 269). Defendants promptly moved for reconsideration of the December

27, 2005 order because they believed that Judge Seybert’s prior orders allowed them more expansive

discovery, directly from NPCMs. On March 7, 2006, Judge Orenstein granted the defendants’

motion for reconsideration on the grounds that his ruling was inconsistent with prior rulings in the

case made by Judge Seybert and allowed defendants to serve “limited interrogatories” directly on

the NPCMs. (ECF Docket No. 287). Plaintiffs, predicably, asked for reconsideration of the March

7, 2006 Order. (ECF Docket No. 298, 306). Reconsideration was denied. (Docket No. 306). To

exercise their rights to additional discovery from the NPCMs, defendants requested that the court

compel production of the names of 240 NPCMs. Judge Orenstein denied the request in a May 24,

2006 Civil Conference Minute Order. (ECF Docket No. 298). Defendants then moved for

reconsideration of the denial of their motion to compel the identities of the 240 NPCMs. (ECF

Docket No. 304). The motion for reconsideration was denied. (ECF Docket No. 306).

        In the instant motion, defendants now appeal from Judge Orenstein’s denial of their motion

for reconsideration of his denial of their motion to compel production of the identities of the 240

additional NPCMs, ostensibly so defendants can obtain additional numerosity discovery from the

NPCMs. For the reasons set forth below, defendants’ appeal is dismissed.

                                             Discussion

       Out the outset, the court notes that the parties have an affinity for moving for reconsideration

of orders of the court. Motions for reconsideration are not to be made simply because a party

disagrees with the court’s decision, but rather should only be made when there is "an intervening

change of controlling law, the availability of new evidence, or the need to correct a clear error or



                                               8
Case 2:02-cv-05171-DLI-JO           Document 321 Filed 03/07/07             Page 9 of 13 PageID #:
                                             1931


prevent a manifest injustice." Virgin Atl. Airways, Ltd. v. Nat'l Mediation Bd., 956 F.2d 1245, 1255

(2d Cir. 1992). Similarly, the court’s plenary power to review its own interlocutory orders may be

applied in circumstances “when it is consonant with justice to do so.” U.S. v. LoRusso, 695 F.2d 45,

53 (2d Cir. 1983). The parties in this action, however, have rarely cited anything more than a

disagreement with the court’s decisions when making a motion for reconsideration, creating a system

whereby the winner appears to be the party who prevails on the motion two out of the three times it

is brought before the court, a system that both lacks efficiency and shows a disrespect for the court’s

decisions. With respect to the instant motion, 28 U.S.C. § 636 provides that a district judge “may

reconsider” any pretrial matter decided by a magistrate judge “where it has been shown that the

magistrate judges order is clearly erroneous or contrary to law.” Id. Judge Orenstein’s March 7,

2006 and May 24, 2006 Civil Conference Minute Orders were neither “clearly erroneous” nor

“contrary to law” and this court will not set them aside.

       Judge Seybert’s decisions of December 18, 2003 and August 17, 2004 clearly entitle

defendants to limited discovery from NPCMs and further allow the discovery demands to be served

directly upon the NPCMs, rather than upon the named plaintiffs. Plaintiffs’ counsel has expended

a tremendous amount of energy seeking to undo these decisions, including numerous objections,

motions to reconsider, two appeals to the Second Circuit and a motion for a stay of the August 17,

2004 order. Plaintiffs have even strained their credibility with a completely spurious argument that

the court’s referral of their motion to stay enforcement of Judge Seybert’s August 17, 2004 order to

Judge Orenstein allowed Judge Orenstein to somehow alter the law of the case with respect to the

discovery that could be served upon NPCMs.6

        6
              The plaintiffs’ arguments are further muddled because the issue was not whether
Judge Orenstein has the power to overrule Judge Seybert when referred a motion from another

                                                9
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07              Page 10 of 13 PageID #:
                                             1932


       Plaintiffs’ energy would have been better spent determining the scope of discovery permitted

under Judge Seybert’s decisions, namely how to most effectively identify NPCMs who (1) did not

in fact use a pirate box and (2) did in fact rely on defendants’ representations. Almost by accident,

the plaintiffs did exactly that, and have provided more than sixty affidavits from NPCMs attesting

to their membership in the class, thus providing defendants the limited discovery of the NPCMs

envisioned by Judge Seybert. (ECF Docket No. 242, 247). With respect to the instant motion, to the

extent that plaintiffs are confident that the information provided by the more than sixty NPCMs who

have submitted affidavits attesting to their membership in the class established numerosity, the court

will not disturb Judge Orenstein’s denial of defendants’ motion to compel the production of the

identities of the remaining NPCMs. Thus, although the plaintiffs must respond to the limited written

discovery served upon the previously identified NPCMs, if plaintiffs do not wish to reveal the

identities of the additional NPCMs, the court will not require them to do so. Of course, plaintiffs

proceed at their own risk since their ability to meet the numerosity requirements of Fed R. Civ. Pro.

23(a)(1) depends upon the number of NPCMs who can attest that they (1) did not in fact use a pirate

box and (2) did in fact rely on defendants’ representations, in accordance with Judge Seybert’s

December 18, 2003 Memorandum and Order.

       The court’s holding comports with the Second Circuit’s recent decision in In re Initial Public

Offering Securities Litigation, 471 F.3d 24 (2d Cir. 2006). In In re Initial Public Offering Securities

Litigation, the Second Circuit held that the court is required to “resolve factual disputes relevant to

each Rule 23 requirement” even where those determinations overlap or are identical to “a merits



 district judge, an issue that the court need not address, but rather whether altering the decision
 with respect to discovery from NPMC was warranted, which, upon reconsideration, Judge
 Orenstein correctly determined it was not.

                                                10
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07              Page 11 of 13 PageID #:
                                             1933


issue.” Id at 42. Likewise, it should not be forgotten that plaintiffs bear the burden of demonstrating

numerosity. Caridad v. Metro-North Commuter R.R., 191 F.3d 283, 292 (2d Cir 1999) (“[t]he party

seeking to certify a class bears the burden of demonstrating numerosity, commonality, typicality, and

adequacy.”). The Circuit also provided the court with a framework for resolving disputed class

certifications issues, such as this one: the district court is required to be sure that enough pre-

certification discovery is provided so that it is satisfied that each Rule 23 requirement has been met,

without receiving so much discovery that “a Rule 23 hearing will extend into a protracted mini-trial

of substantial portions of the underlying litigation.” In re Initial Public Offering Securities

Litigation, 471 F.3d at 41.

       Applying the Circuit’s holdings to this matter, in determining whether class certification is

appropriate, the court will evaluate whether the plaintiffs have met the numerosity requirement and

will examine whether the members of the putative class used the pirate boxes and relied on the

defendants’ representations. The court is skeptical that additional discovery from NPCMs will affect

the plaintiffs’ certification motion because the court is already aware that there are more than sixty

NPCMs who meet Judge Seybert’s requirements. So long as plaintiffs are confident of being able

to satisfy the numerosity requirement, additional discovery from the NPCMs is not necessary or

warranted.

       To the extent that defendants are seeking additional discovery from the NPCMs on the

commonality prong of the class certification test, (to demonstrate that the NPCMs have individual

issues with respect to the use of the pirate box and with respect to their reliance, issues that

predominate over the issues common to the class), the court previously rejected defendants’

argument. See Calabrese v. CSC Holdings, Inc., 02-CV-5171, slip op. 15-16. (E.D.N.Y. Sep. 5,



                                                11
Case 2:02-cv-05171-DLI-JO          Document 321 Filed 03/07/07             Page 12 of 13 PageID #:
                                             1934


2003) (Docket No. 46). Judge Seybert previously stated that:

        [t]he court notes that there are a numerosity of individual issues of fact, resolution
        of which is essential to the final adjudication of this case. The court recognizes that
        these individual issues may require separate “mini-trials” and may substantially slow
        the adjudication of this case. However, as a whole, the court finds that common
        issues of fact and law . . . predominate this action.

Id. at 16. Thus, whether each individual NPCMs can prove that they did not use the pirate boxes and

relied on the defendants’ representations, as they swear in the affidavits submitted to the court, can

be tested at a later time and should not be addressed by additional pre-certification discovery.7 See

In re Visa Check/MasterMoney Antitrust Litigation, 280 F.3d 124, 140 (2d Cir 2001) (upholding class

certification while noting that individualized issues of damages and mitigation might require

individualized inquiry); Green v. Wolf Corp., 406 F.2d 291, 300-01 (2d Cir.1968) (“[t]he district

court may use the procedures suggested by Rule 23 to cope with the [distinctions between plaintiffs],

if, indeed, they exist.”). Additional discovery for the purpose of establishing (or defeating) the

commonality of claims among the putative class is denied.

       Defendant’s appeal is dismissed because the court finds that the numerosity discovery

provided by plaintiffs satisfies Judge Seybert’s previous orders. Defendants are not entitled to any

further discovery from NPCMs. In accordance with prior orders of this court, plaintiffs are directed

to respond to all outstanding discovery requests which were served upon the identified NPCMs prior

to the filing of this Memorandum and Order. Defendants shall file a letter with the court within five



        7
                  The court notes that it is uncommon for a defendant to seek names of NPCMs. It
 is much more common for a plaintiffs seek the names of NPCMs in an attempt to broaden their
 class, a tactic courts disfavor. See Dziennik v. Sealift, Inc.,, 05 CV 4659, 2006 WL 1455464 *1
 (E.D.N.Y. May 23, 2006)(“[c]ourts have ordinarily refused to allow discovery of class members'
 identities at the pre-certification stage out of concern that plaintiffs' attorneys may be seeking
 such information to identify potential new clients, rather than to establish the appropriateness of
 certification.

                                               12
Case 2:02-cv-05171-DLI-JO           Document 321 Filed 03/07/07               Page 13 of 13 PageID #:
                                              1935


(5) days of receiving the outstanding NPCM discovery, notifying this court of the same, at which

point the court will set a briefing schedule for the class certification motion.8 Once class certification

is addressed, parties may request permission to move for summary judgement, if desired.


SO ORDERED.



DATED:          Brooklyn, New York
                March 7, 2007
                                                        ______________/s/___________________
                                                               DORA L. IRIZARRY
                                                          United States District Court Judge




         8
               It appears that plaintiffs served a motion for class certification upon defendants
 sometime in April of 2006, but never filed the motion with the court. That motion is terminated
 without prejudice to renew in accordance with the results of NPCM discovery.

                                                 13
